      Case 1:15-cr-10150-GAO Document 80 Filed 07/29/16 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA           )
                                   )
        v.                         )   Criminal No. 15-10150-GAO
                                   )
MITCHELL DANIELLS,                 )
                     Defendant.    )


         GOVERNMENT'S SUPPLEMENTAL MEMORANDUM REGARDING
                  PRE-TRIAL ORDER OF DETENTION

                              BACKGROUND

     In response to the Court’s Order of July 27, 2016, docket entry

#79, the government submits the attached Exhibit 1 in support of its

continuing belief that MITCHELL DANIELLS’ gun trafficking scheme

presents a substantial risk to the community, and the proposed third

party custodian and location are unacceptable.

                                  ARGUMENT

     The residence that DANIELLS proposes – his mother’s address at

28C Interfaith Terrace in Framingham, is a location where DANIELLS

committed acts on his gun trafficking scheme including removing the

serial numbers from guns. See exhibit 1 which consists of the search

warrant materials, reports and photographs.       In the search warrant

affidavit of Special Agent Daniel P. McPartlin, he details the use

of the proposed release address by DANIELLS during the course of a

gun sale. See Exhibit 1 at Bates #s 752-754, paragraphs 40-43.



                                       1
      Case 1:15-cr-10150-GAO Document 80 Filed 07/29/16 Page 2 of 3



Proposed third party custodian Ester Daniells was present during the

search that took place on September 28, 2015, a full three months

after DANIELLS arrest on June 18, 2015. Id.       This demonstrates the

unworthiness of both the proposed location and third party custodian.

See Exhibit 1, Bates #762 describing the location within DANIELLS

room that evidence including an ammunition box and gun keys were

recovered.

                              CONCLUSION

     Based on the foregoing, the detention hearing evidence and

argument, the government’s prior opposition to the detention appeal

filed in this matter and arguments to the Court on it, the United

States of America is in agreement with the U.S. Probation Office in

requesting that the Court order that the defendant be detained

pending trial on the Government=s Motion for Detention.



                                       Respectfully Submitted,

                                       CARMEN M. ORTIZ
                                       United States Attorney


                                 By:   s/ Glenn A. MacKinlay
                                       GLENN A. MACKINLAY
                                       Assistant U.S. Attorney




                                   2
         Case 1:15-cr-10150-GAO Document 80 Filed 07/29/16 Page 3 of 3




                          CERTIFICATE OF SERVICE

     This is to certify that I served a copy of this memorandum on

the below efiling:

                             COUNSEL OF RECORD



                                    By:   s/ Glenn A. MacKinlay
                                          Glenn A. MacKinlay
                                          Assistant U.S. Attorney




Dated:       July 29, 2016




                                      3
